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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE GOOGLE RTB CONSUMER                          Case No. 21-cv-02155-YGR (VKD)
                                         PRIVACY LITIGATION
                                   8
                                                                                            ORDER RE DISCOVERY DISPUTE RE
                                   9                                                        BERNTSON TRANSCRIPT ERRATA

                                  10                                                        Re: Dkt. No. 652

                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The parties ask the Court to resolve a dispute regarding a portion of a December 11, 2023

                                  14   errata to the October 23, 2023 deposition transcript of Dr. Glenn Berntson, who testified on

                                  15   Google’s behalf as a Rule 30(b)(6) designee. Dkt. No. 652. Specifically, plaintiffs ask the Court

                                  16   to strike the portion of the errata that purports to correct Dr. Berntson’s use of the word

                                  17   “destroying” at page 211, line 18 of the transcript. Alternatively, plaintiffs ask for an opportunity

                                  18   take further deposition testimony on the subject matter addressed by the errata. See id. at 2.

                                  19   Google responds that the change reflected in the errata should not be stricken because it merely

                                  20   corrects a factually incorrect statement by Dr. Berntson. See id. at 4. The Court previously found

                                  21   this dispute suitable for resolution without oral argument. Civil L.R. 7-1(b); Dkt. No. 691.

                                  22          Rule 30(e) of the Federal Rule of Civil Procedure permits a deponent to make changes to

                                  23   his deposition testimony “in form or substance” provided the deponent (1) requests review of the

                                  24   deposition to make corrections, (2) signs a statement listing the changes and the reasons for

                                  25   making them, and (3) submits changes within 30 days of receiving notice that the transcript is

                                  26   available. Fed. R. Civ. P. 30(e)(1)-(2). Rule 30(e) does not permit a deponent to change his

                                  27   testimony as a “sham” solely to evade an unfavorable ruling. See Hambleton Bros. Lumber Co. v.

                                  28   Balkin Enterprises, Inc., 397 F.3d 1217, 1225 (9th Cir. 2005); Lewis v. The CCPOA Benefit Tr.
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                                   1   Fund, No. C-08-03228-VRW DMR, 2010 WL 3398521, at *2 (N.D. Cal. Aug. 27, 2010). The

                                   2   Ninth Circuit has made clear that “Rule 30(e) is be used for corrective, and not contradictory,

                                   3   changes.” Hambleton, 397 F.3d at 1226.

                                   4          As an initial matter, it is not clear that any changes in the errata are permissible under Rule

                                   5   30(e), as there is no indication that Google or the deponent requested an opportunity to review the

                                   6   transcript for corrections, or that the change at issue was timely made.1 However, as the parties do

                                   7   not address these threshold matters, the Court assumes for purposes of this dispute that the

                                   8   corrections were timely and followed an appropriate request for review.

                                   9          The disputed change to page 211, line 18 of the deposition cannot reasonably be

                                  10   considered a “clarifying” change. Rather, the errata purports to delete unfavorable testimony.

                                  11   While Google may be correct that, when read in context, Dr. Berntson’s recorded testimony is

                                  12   inconsistent with testimony he gave at other points in the deposition, the alteration Google seeks
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                                  13   does not correct the testimony in question, but instead contradicts the testimony recorded at page

                                  14   211, line 18 by eliminating it from the record.

                                  15          The Court grants plaintiffs’ request to strike this portion of the errata.

                                  16          IT IS SO ORDERED.

                                  17   Dated: July 8, 2024

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                                                                                                     Virginia K. DeMarchi
                                  20                                                                 United States Magistrate Judge
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                                         Exhibit B to the joint discovery dispute submission reflects that the reporter indicated “Reading
                                  28   & Signature was not requested before completion of the deposition.” See Dkt. No. 652, Ex. B
                                       (dep. at 258:9).
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